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                                 UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF PENNSYLVANIA

                   REQUEST FOR MODIFYING THE CONDITIONS OR TERM OF
                    SUPERVISION WITH THE CONSENT OF TIIE OFFENDER
                                          (Probation For• • Waiver of Heariag is Attacked)




Offender Name: Colleen R. LaRose                                                             Case No.: 2:10CR000123-001

Name of Sentencing Judicial Officer: The Honorable Petrese B. Tucker

Date of Original Sentence: January 6, 2014

Original Offense: Conspiracy to provide material support to terrorists (Count One); conspiracy to kill in a
foreign country (Count Two); false statements to government officials (Count Three); and attempted
identity theft (Count Four).

Original Sentence: The defendant was committed to the custody of the United States Bureau of Prisons
(BOP) for a total term of ten years, to be followed by a five-year period of supervised release. A $400.00
special assessment was also imposed.

Special Conditions: 1) The defendant shall participate in a mental health program for evaluation and/or
treatment and abide by the rules of any such program until satisfactorily discharged; 2) The defendant
shall abide by the standard conditions of computer monitoring; 3) The defendant shall cooperate in the
collection of DNA as directed by the probation officer; 4) The defendant shall refrain from the illegal use
of drugs and shall submit to testing if directed to do so; 5) The defendant shall cooperate in the collection
of DNA as directed by the probation officer; and 6) The defendant shall pay a $2,500.00 fine at the rate of
$50.00 monthly, to commence 30 days after release.

Modification: On August 6, 2018, the defendant's conditions were modified to include that she be placed
in a Residential Reentry Center (RRC) for a period of up to 90 days, or until such time that a suitable
residence can be approved by the U.S. Probation Office.

Type of Supervision: Supervised Release                                 Date Supervision Commenced: August 3, 2018

U.S. Attorney's Response:    No Objections     1:8:1       Objections D                      No Response D


                                       PETITIONING THE COURT

At sentencing for the instant offense, the Court ordered that the defendant shall abide by the standard
conditions of computer monitoring. After her release from federal custody, Ms. LaRose reviewed and
signed the Computer Monitoring Standard Conditions adopted by this Court. Recently, the defendant
obtained a device (Samsung tablet) with internet access. Due to the defendant's conduct in the instant
offense and her history, our plan is to monitor the device appropriately for any concerning activity.
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                                                   '
RE: Colleen R. LaRose
Case No.: 10-123-01

We are seeking to modify the defendant's supervision to include the full monitoring special condition to
accomplish that goal.

We note that Ms. LaRose also has a mobile phone that has internet access; however, it is an older model
phone and cannot be monitored by our office's software. In response, this officer disabled the phone's
web capability and instructed Ms. LaRose not to change any settings on that specific phone. Her
compliance with this directive will be periodically verified by this officer. On March 26, 2019, the
defendant waived her right to a hearing and agreed to the proposed modification of supervision
conditions. Also, Assistant United States Attorney Jennifer A. Williams voiced no objection to the
proposed modification.

It is also noted that since her release from custody, Ms. LaRose has been unable to make any payments
toward her Court ordered fine. As of this writing, the balance is $2,500.00. The special assessment has
been paid in full. At this time, Ms. LaRose is supported financially by her paramour, and she is applying
for Social Security Disability benefits. In light of this, it is requested that her payments be suspended
until further notice.

Furthermore, the defendant is not presently enrolled in a mental health treatment program. Since her
release, Ms. LaRose has denied the need for formal treatment; however, she remains receptive to this
officer's attempts to refer her to appropriate services. The Court will be updated accordingly if her status
in mental health treatment changes.
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RE: Colleen R. LaRose
Case No.: 10-123-01

        To modify the conditions of supervision as follows: The defendant shall submit to an initial
        inspection by the U.S. Probation Office and to any examination during supervision of the
        defendant's computer and any devices, programs, or applications. The defendant shall allow the
        installation of any hardware or software systems which monitor or filter computer use. The
        defendant shall abide by the standard conditions of computer monitoring and filtering that have
        been approved by this Court. The defendant is to pay the cost of the computer monitoring not to
        exceed the monthly contractual rate, in accordance with the probation officer's discretion.

                                                 Respectfully submitted,

                                                 Matthew R. MacA voy, Chief
                                                 U.S. Probation Officer

                                                  ~~
                                                 Adam Peterson
                                                 Sr. U.S. Probation Officer


                                                 Approved:

                                                 q~.~
                                                 James D. Muth
                                                 Supervising U.S. Probation Officer
                                                 Date: r../ _ l- (P'J



ORDER OF THE COURT

Considered and ordered this
- - -.....~"-'-~-'-'-- day of
    ~If and ordered filed
                                 aJJ.ul.
                             a;T~~~ part of
the rec;fds in the above case.

   ~(j~/
The Honorable Petrese B. Tucker
U.S. District Court Judge
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                                              '

                      UNITED STATES PROBATION OFFICE
                     EASTERN DISTRICT OF PENNSYLVANIA

  NOTICE OF REQUEST FOR MODIFICATIO~ OF SUPERVISION CONDITIONS

       TO:   Colleen R. LaRose                      CASE NO.: 10-123-01
             (Name)
                                                                  ---------
        This is to notify you that the U.S. Probation Office intends to make a formal
request to the Court that the conditions of supervision be modified as follows:

The defendant shall submit to an initial inspection by the U.S. Probation Office and
to any examination during supervision of the defendant's computer and any devices,
programs, or applications. The defendant shall allow the installation of any
hardware or software systems which monitor or filter computer use. The defendant
shall abide by the standard conditions of computer monitoring and filtering that
have been approved by this Court. The defendant is to pay the cost of the computer
monitoring not to exceed the monthly contractual rate, in accordance with the
probation officer's discretion.

       The reason for this modification and addendum to the conditions of supervision
1s:

We are seeking to modify the defendant's supervision to include the full monitoring
special condition adopted by this Court.

        You are advised that you have the right to a hearing before the Court on the
modification of the conditions of supervision, and that you have the right to be
represented by counsel at such hearing. You also have the right to waive (give up) such a
hearing. You are hereby asked to acknowledge receipt of the "Notice" by signing the
applicable portion on the reverse side of this form and returning the form to your
Probation Officer. If you desire a hearing, you should sign the ACKNOWLEDGMENT
AND REQUEST FOR HEARING portion of the form. If you wish to waive (give up) a
hearing, you should sign the ACKNOWLEDGMENT AND WAIVER portion of the
form. If you request a hearing, you will be notified by this office of the time and place
thereof in due course.

                                     Matthew R. MacA voy, Chief
                                     U.S. Probation Officer


                                     Adam Peterson                  Date   "2./ ;; /.
                                     Sr. U.S. Probation Officer            / 'J-7//f


AEP
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               ACKNOWLEDGMENT AND REQCEST FOR HEARING


              I, Colleen R. LaRose, hereby acknowledge receipt of the Notice of
Request for Modification of the Conditions of Supervision, and request a hearing thereon
with my reasons stated below:




                                    Signed:
                                              - - - - - - - - - - - - -(Date)
                                                                         --




                ACKNOWLEDGMENT A~D WAIVER OF HEARING


                I, Colleen R. LaRose, hereby acknowledge receipt of the Notice of
Request for Modification of the Conditions of Supervision. I have read the Notice and
understand that I have the right to a hearing before the Court on that request and to the
assistance of counsel at the hearing. However, I hereby waive (give up) my right to a
hearing and agree to the proposed modifications of conditions of supervision. I also
certify that no promises have been made to me in order to induce me to give up my right
to a hearing.




                                                                                J-J9-19
                                                                                  (Date)


 WITNESS:



                             I
Name



Address
